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 1   BENJAMIN B. WAGNER
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     Assistant U.S. Attorney
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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          )       1:00-cr-5441 AWI
                                        )
12                    Plaintiff,        )
                                        )       GOVERNMENT’S MOTION FOR
13        v.                            )       DISMISSAL OF INDICTMENT, AND
                                        )       ORDER THEREON.
14   MARIO PEREZ,                       )
                                        )
15                                      )
                      Defendant.        )
16                                      )

17

18        Pursuant to Rule 48(a) of the Federal Rules of Criminal

19   Procedure, the government moves to dismiss the Indictment against

20   only the above-named defendant, Mario Perez.         The above-named

21   defendant, Mario Perez, has been a fugitive since he was released

22   on pretrial release in 2000, and is believed by the Federal Bureau

23   of Investigations to be at an unknown location in Mexico.          Special

24   Agent Paul Stone of the Federal Bureau of Investigations, Modesto

25   Resident Agency, contacted the U.S. Attorney’s Office and has

26   requested the filing of this motion.        The Federal Bureau of

27   Investigations also requests that the warrant for the above-named

28   defendant’s failure to appear in this case be recalled.

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 1   DATED: July 19, 2010                       Respectfully submitted,

 2                                              BENJAMIN B. WAGNER
                                                United States Attorney
 3
                                                By/s/Dawrence W. Rice, Jr.
 4                                                DAWRENCE W. RICE, JR.
                                                Assistant U.S. Attorney
 5

 6                                      ORDER

 7        IT IS ORDERED that the Indictment in 1:00-cr-5441 AWI against

 8   only the above-named defendant, Mario Perez, is dismissed in the

 9   interest of justice and that the warrant for his failure to appear

10   in this case is recalled.

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12   IT IS SO ORDERED.
13
     Dated:       July 19, 2010
14   0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
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